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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    Co-Counsel for Debtors and
    Debtors in Possession
    In re:                                                             Chapter 11

    WHITTAKER, CLARK & DANIELS, INC., et al.,                          Case No. 23-13575 (MBK)

             Debtors. 1                                                (Jointly Administered)


                            ORDER (I) APPROVING THE SETTLEMENT
                          AGREEMENT BETWEEN THE DEBTORS AND THE



1      The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
       numbers, are: Whittaker, Clark & Daniels, Inc. (4760); Brilliant National Services, Inc. (2113); L. A. Terminals,
       Inc. (6800); and Soco West, Inc. (3400). The location of Debtors’ principal place of business and the Debtors’
       service address in these chapter 11 cases is 100 First Stamford Place, Stamford, Connecticut 06902.
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Case No.            23-13575 (MBK)
Caption of Order:   Order (I) Approving the Settlement Agreement Between the Debtors and
                    the Contributing Parties, (II) Authorizing the Debtors to Perform All of
                    Their Obligations Thereunder, and (III) Granting Related Relief

CONTRIBUTING PARTIES, (II) AUTHORIZING THE DEBTORS TO PERFORM ALL
OF THEIR OBLIGATIONS THEREUNDER, AND (III) GRANTING RELATED RELIEF

       The relief set forth on the following pages, numbered three (3) through eight (8),

is ORDERED
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Debtors:                 WHITTAKER, CLARK & DANIELS, INC., et al.
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        Upon the Debtors’ Motion for Entry of an Order (I) Approving the Settlement Agreement

Between the Debtors and the Contributing Parties, (II) Authorizing the Debtors to Perform All of

Their Obligations Thereunder, and (III) Granting Related Relief (the “Motion”), 2 of the above-

captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an order

(this “Order”): (a) authorizing (i) entry into that certain settlement agreement attached as

Exhibit 1 to this Order (the “Settlement Agreement”) between and among the Debtors, Brenntag, 1

NICO, 2 and DB US 3 (Brenntag, NICO, and DB US, collectively, the “Contributing Parties”) and

the Debtors (together with the Contributing Parties, the “Parties”) and (ii) the Debtors to perform

all of their obligations thereunder; and (b) granting related relief, all as more fully set forth in the

Motion; and upon the Pohl Declaration, the McKnight Declaration, the Griffith Declaration, and

the Campbell Declaration; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court




2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Settlement
    Agreement.
1   “Brenntag” means, collectively, Brenntag Canada, Inc., Brenntag Great Lakes, LLC, Brenntag Mid-South, Inc.,
    Brenntag North America, Inc., Brenntag Northeast, LLC, Brenntag Pacific, Inc., Brenntag Southwest, Inc.,
    Brenntag Specialties, LLC (f/k/a Brenntag Specialties, Inc., and as Mineral and Pigment Solutions, Inc.), and
    Coastal Chemical Co., LLC.
2   “NICO” means, collectively, Berkshire Hathaway Inc., BH Columbia Inc., Columbia Insurance Company,
    National Indemnity Company, Resolute Management, Inc., Ringwalt & Liesche Co. (“Ringwalt”), and National
    Liability & Fire Insurance Company.
3   “DB US” means DB US Holding Corporation (f/k/a Stinnes Corporation).
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Debtors:                WHITTAKER, CLARK & DANIELS, INC., et al.
Case No.                23-13575 (MBK)
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                        Their Obligations Thereunder, and (III) Granting Related Relief

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in

the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Settlement is fair and equitable and that the probability of success in

litigation, the likely difficulties in collection, the complexity of the litigation involved and the

attendant expense, inconvenience, and delay, and the paramount interest of the creditors all weigh

in favor of approving the Settlement; and this Court having found that the Debtors’ notice of the

Motion was appropriate under the circumstances and no other notice of the Motion need be

provided; and this Court having reviewed the Motion; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor IT IS HEREBY FOUND, DETERMINED AND ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      Any objections to the Motion and to the relief requested therein and/or granted in

this Order that have not been withdrawn, waived, or settled, and all reservations of rights included

in such objections, are overruled on the merits.

        3.      The Parties are authorized to enter into the Settlement Agreement, substantially in

the form attached hereto as Exhibit 1 and the terms contemplated therein are hereby approved in

all respects.
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Debtors:                 WHITTAKER, CLARK & DANIELS, INC., et al.
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                         the Contributing Parties, (II) Authorizing the Debtors to Perform All of
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       4.         The claims to be released by the Debtors in the Settlement Agreement, defined as

the Estate Causes of Action in the Settlement Agreement, are property of the Debtors’ estates.

       5.         The Settlement Agreement, including the releases contained therein, is fair and

equitable and in the best interests of the Debtors and their estates, based upon the evidence and

arguments made at the hearing on the Motion as to the probability of success in litigation; the

complexity of the litigation involved, and the expense, inconvenience, and delay necessarily

attending it; and the paramount interest of creditors.

       6.         The probability of success on the claims the Debtors are releasing under the

Settlement Agreement, and the value of any recovery in the event the Debtors were to prevail, are

both uncertain.

       7.         In the absence of a settlement, the resolution of the Debtors’ claims against the

Contributing Parties would require lengthy and costly litigation. There is no assurance that such

litigation would result in higher recoveries for the Debtors’ creditors. By entering into the

Settlement Agreement, the Debtors avoid this delay, uncertainty, and risk.

       8.         When considering the challenges the Debtors face on the merits of the Estate

Causes of Action, the Settlement Payment is reasonable and exceeds the lowest point in the range

of reasonableness.

       9.         The Settlement Agreement was the product of good faith negotiations conducted at

arm’s-length between the Debtors and the Contributing Parties, each of which was separately

represented by counsel.
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Debtors:               WHITTAKER, CLARK & DANIELS, INC., et al.
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                       the Contributing Parties, (II) Authorizing the Debtors to Perform All of
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       10.     The terms and conditions of the Settlement Agreement, including the rationale

underlying the agreement, have been adequately disclosed to the Court.

       11.     In accordance with the terms of the Settlement Agreement, the Debtor Releasing

Parties and creditors of the Debtors’ estates, as applicable, are enjoined from commencing,

prosecuting, accepting payment on account of, or otherwise pursuing Debtor Released Estate

Causes of Action against the Non-Debtor Released Parties, and the Court will retain exclusive

jurisdiction to enforce this Order and to determine, without limitation, whether any claim brought

against any Non-Debtor Released Party constitutes a Debtor Estate Cause of Action and is thus

subject to the prohibition against prosecution of such claims.

       12.     The Non-Debtor Released Parties are forever barred from asserting the Brenntag

Released Claims, the NICO Released Claims, and the DB US Released Claims, as applicable,

against the Debtor Releasees, and the Court will retain exclusive jurisdiction to enforce this Order

and to determine, without limitation, whether any claim brought against any of the Debtor

Releasees constitutes a Brenntag Released Claim, NICO Released Claim, and/or DB US Released

Claim and is thus subject to the prohibition against prosecution of such claims.

       13.     Notwithstanding anything to the contrary contained herein (including, but not

limited to, this paragraph 13) or in the Settlement Agreement, each Contributing Party reserves all,

and does not release any, rights, claims, and defenses (whether contractual or otherwise) against

each other Contributing Party, including but not limited to all rights, claims, and defenses under

the 2003 MSPA and 2007 SPA (including in the arbitration proceeding pending under the 2021

Arbitration Rules of the International Chamber of Commerce, Case Ref. 27945/PDP), defined in
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Debtors:               WHITTAKER, CLARK & DANIELS, INC., et al.
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the Settlement Agreement as Preserved Rights. For the avoidance of doubt, the Contributing

Parties agree that the releases of the Brenntag Released Claims, the DB US Released Claims, and

the NICO Released Claims by the respective Contributing Parties shall not be raised as a defense

and shall not constitute a defense to the assertion of Preserved Rights.

          14.   For the avoidance of doubt, the effectiveness of the terms of the Settlement

Agreement are not contingent upon the confirmation of a chapter 11 plan, and this Order shall be

binding on all the Debtors, all holders of claims against the Debtors, the respective successors and

assigns referenced in this paragraph, and any chapter 11 trustee, liquidating or other trustee, or

other trust or other form of distribution vehicle established under a chapter 11 plan of the Debtors,

and on any chapter 7 trustee if any of the Debtors’ cases is converted to a chapter 7 proceeding.

          15.   Nothing in the Settlement Agreement or this Settlement Order bars any person from

asserting a Cause of Action against a Non-Debtor Released Party that is not an Estate Cause of

Action.

          16.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

          17.   Notwithstanding Bankruptcy Rule 6004(h), 7062, 9014, or otherwise, this Order

shall be effective and enforceable immediately upon entry hereof.

          18.   Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.
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Debtors:               WHITTAKER, CLARK & DANIELS, INC., et al.
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        19.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

        20.     As set forth in the Settlement Agreement, any damages payable by the Debtors

under the Settlement Agreement for breach of the Settlement Agreement shall be entitled to

administrative expense priority under 11 U.S.C. § 503(b)(1) against each of the Debtors’ estates.

        21.     No party shall be required to seek relief from the automatic stay to enforce the

Settlement Agreement or to exercise any rights thereunder, including to exercise rights of

termination in accordance with the terms of the Settlement Agreement.

        22.     This Court shall retain exclusive jurisdiction to interpret provisions of the

Settlement Agreement and this Order in all respects and further to hear and determine any and all

disputes relating to the Settlement Agreement; in the event the Debtors’ cases are closed, there

shall be cause to reopen the Debtors’ cases upon motion or application for such purposes, absent

which the parties may seek enforcement or interpretation of the Settlement Agreement or this

Order in the District Court for this District.
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                                   Exhibit 1

                             Settlement Agreement
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                                                              [EXECUTED VERSION]


                                SETTLEMENT AGREEMENT


        This SETTLEMENT AGREEMENT (the “Settlement Agreement”) is made and executed
as of the third day of September, 2024 by and between: (a) BRENNTAG CANADA, INC.;
BRENNTAG GREAT LAKES, LLC; BRENNTAG MID-SOUTH, INC.; BRENNTAG NORTH
AMERICA, INC.; BRENNTAG NORTHEAST, LLC; BRENNTAG PACIFIC, INC.;
BRENNTAG SOUTHWEST, INC.; BRENNTAG SPECIALTIES, LLC (F/K/A BRENNTAG
SPECIALTIES, INC.; AND AS MINERAL AND PIGMENT SOLUTIONS, INC. (“MPSI”))
(“Brenntag Specialties”), AND COASTAL CHEMICAL CO., LLC (collectively, “Brenntag”), a
group of affiliated entities; (b) BERKSHIRE HATHAWAY INC.; BH COLUMBIA INC.;
COLUMBIA INSURANCE COMPANY; NATIONAL INDEMNITY COMPANY; RESOLUTE
MANAGEMENT, INC.; RINGWALT & LIESCHE CO.; and NATIONAL LIABILITY & FIRE
INSURANCE COMPANY (collectively, “NICO”), a group of affiliated entities; (c) DB US
HOLDING CORPORATION (f/k/a Stinnes Corporation) (“DB US,” and together with Brenntag
and NICO, collectively, the “Contributing Parties,” and each individually, a “Contributing Party”),
a corporation; and (d) WHITTAKER, CLARK & DANIELS, INC. (“WCD”); BRILLIANT
NATIONAL SERVICES, INC. (“Brilliant”); L. A. TERMINALS, INC. (“LAT”); and SOCO
WEST, INC. (“Soco,” and together with WCD, Brilliant, and LAT, collectively, the “Debtors,”
together with Brenntag, NICO, and DB US, the “Parties,” and each of the foregoing individually,
a “Party”).

                                         WITNESSETH:

         WHEREAS, Stinnes Corp. (n/k/a DB US), Stinnes AG, Stinnes UK Limited, Schenker-
BTL, S.A., and Deutsche Bahn Aktiengesellschaft (collectively, the “DB Parties”) and certain of
its affiliates entered into a master sale and purchase agreement with certain affiliates of Bain
Capital L.P. (the “2003 MSPA”), which contemplated, in part, sales of certain of the Debtors’
assets to Brenntag North America, Inc., a then-affiliate of Bain Capital L.P., and certain of its
affiliates in exchange for cash and the assumption of certain non-asbestos and non-environmental
liabilities, while certain defined asbestos and environmental liabilities remained with the Debtors;

       WHEREAS, the 2003 MSPA provided that WCD and Soco would indemnify Brenntag
North America, Inc. and certain of its affiliates for certain defined asbestos-related liabilities,
which indemnification obligations were guaranteed by Brilliant, which in turn were guaranteed by
DB US if WCD, Soco, and Brilliant were unable to satisfy such claims, as applicable;

        WHEREAS, Soco entered into that certain asset purchase agreement whereby Soco
divested substantially all of its assets in exchange for, among other things, cash and the assumption
of certain ongoing liabilities by the purchaser, Brenntag Pacific, Inc. (the “2004 Soco APA”);

       WHEREAS, WCD entered into an agreement divesting substantially all of its assets in
exchange for, among other things, cash and the assumption of certain ongoing liabilities by the
purchaser, MPSI (the “2004 WCD APA”);

        WHEREAS, Brilliant engaged in an asset sale transaction with Brenntag North America
divesting its intellectual property assets, resigning from certain LLC agreements, and terminating
certain management fee agreements in exchange for Brenntag North America assuming certain
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non-asbestos-related and non-environmental related ongoing liabilities, in addition to the
consideration paid under the Soco APA and WCD APA (the ”2004 Brilliant APA,” and together
with the 2003 MSPA, the 2004 Soco APA, and the 2004 WCD APA, the ”2004 Transaction
Documents”);

       WHEREAS, Brenntag acquired substantially all of WCD’s, Soco’s, and Brilliant’s
operating assets pursuant to the 2004 Transaction Documents (collectively, the “2004
Transaction”);

        WHEREAS, pursuant to the 2004 Transaction Documents, the Debtors retained liabilities
as to certain tort claims and retained certain assets, including certain asbestos- and environmental-
related insurance receivables and certain real property;

        WHEREAS, pursuant to the 2004 Transaction Documents, Brenntag asserts claims against
the Debtors for indemnification of certain claims arising from the Debtors’ historical business
practices prior to the 2004 Transaction;

        WHEREAS, in December 2007, National Indemnity Company purchased the equity in
Brilliant (which owned all of the equity of WCD and Soco) and LAT from DB US (the “2007
Acquisition”), pursuant to a stock purchase agreement (the “2007 SPA”);

       WHEREAS, in the 2007 Acquisition, National Indemnity Company agreed to indemnify
DB US for, among other things, certain indemnification obligations arising under the 2003 MSPA
in connection with certain asbestos-related and environmental liabilities;

     WHEREAS, after the consummation of the 2007 Acquisition, National Indemnity
Company assigned the equity interests in Brilliant and LAT to its affiliate Ringwalt & Liesche
Co.;

        WHEREAS, on April 26, 2023, WCD, Soco, Brilliant, and LAT filed for chapter 11
bankruptcy relief under title 11 of the United States Code (the “Bankruptcy Code”) and such
bankruptcy cases are being jointly administered under the case captioned Whittaker, Clark &
Daniels, Inc. et al, Case No. 23-13575 (MBK) in the United States Bankruptcy Court for the
District of New Jersey (the “Court,” and such cases, the “Chapter 11 Cases”);

       WHEREAS, on September 7, 2023, the Debtors initiated an adversary proceeding against
Brenntag AG and other defendants under the caption Whittaker, Clark & Daniels, Inc. v. Brenntag
AG, Adv. Proc. No. 23-01245 (MBK) (the “Adversary Proceeding”);

       WHEREAS, on September 8, 2023, the Debtors filed a motion for summary judgment in
the Adversary Proceeding [Adv. Proc. Docket No. 3] (the “Summary Judgment Motion”) seeking
a declaration that Successor Liability Claims, as defined in the Summary Judgment Motion
(the “Successor Liability Claims”), are property of the Debtors’ Estates;

      WHEREAS, on August 13, 2024, the Court issued a Memorandum Decision granting the
Summary Judgment Motion [Adv. Proc. Docket No. 268] and entered an order to such effect on
August 28, 2024 [Adv. Proc. Docket No. 292] (the “Summary Judgment Order”);



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       WHEREAS, the Debtors own certain Estate Causes of Action (as defined below), including
the Successor Liability Claims;

       WHEREAS, the Contributing Parties deny liability on any potential Estate Causes of
Action the Debtors may or could assert against the Contributing Parties and their Related Parties;

        WHEREAS, the Debtors, Brenntag, NICO, and DB US wish to fully and finally resolve
the disputes described in the above recitals;

       WHEREAS, the Debtors believe that this Settlement Agreement is in the best interests of
the Debtors’ Estates and claimants;

       NOW, THEREFORE, in consideration of the foregoing and the mutual covenants
contained herein, and for other good and valuable consideration, the receipt and sufficiency of
which hereby are acknowledged, Brenntag, NICO, DB US, and the Debtors agree as follows:

       1.      Additional Defined Terms. The following additional definitions apply to this
Agreement. Capitalized terms not otherwise defined herein have the meaning ascribed to them in
the Bankruptcy Code. The singular form of a word includes the plural and vice versa; the
disjunctive “or” is not exclusive and thus includes the conjunctive “and”; all pronouns apply to the
male, female, and neutral genders; the word “any” includes the word “all” and vice versa; the
words “includes” and “including” are without limitation; and the past tense of a word includes the
present tense and vice versa.

   A. “Avoidance Actions” means any and all actual or potential avoidance, recovery,
      subordination, or other Claims and Causes of Action, actions, or remedies that may be
      brought by, or on behalf of, the Debtors or their Estates or other authorized parties in
      interest under the Bankruptcy Code or applicable non-bankruptcy Law, including Claims,
      Causes of Action, actions, or remedies arising under sections 502, 510, 541, 542, 544, 545,
      547 through 553, and 724(a) of the Bankruptcy Code or under similar or related state or
      federal statutes and common Law, including fraudulent transfer Laws.

   B. “Brenntag Releasees” means Brenntag and Brenntag’s Related Parties.

   C. “Causes of Action” means, collectively, any and all claims, interests, controversies,
      actions, proceedings, reimbursement claims, contribution claims, recoupment rights, debts,
      obligations, third-party claims, indemnity claims, damages (including claims for or award
      of costs and/or expenses, court costs and attorneys’ fees), losses, remedies, causes of
      action, demands, rights, lawsuits, suits, litigation, arbitration, legal proceeding, obligations,
      liabilities, accounts, judgments, defenses, offsets, powers, privileges, licenses, franchises,
      guaranties, Avoidance Actions, agreements, counterclaims, and cross-claims, of any kind
      or character whatsoever, whether known or unknown or hereafter discovered, foreseen or
      unforeseen, existing or hereinafter arising, contingent or non-contingent, matured or
      unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
      asserted or unasserted, direct or indirect, assertable directly or derivatively, choate or
      inchoate, reduced to judgment or otherwise, secured or unsecured, whether arising before,
      on, or after the Petition Date, in tort, Law, equity, or otherwise pursuant to any theory of
      civil Law (whether local, state, or federal U.S. Law or non-U.S. Law). Causes of Action


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      also include: (a) all rights of setoff, counterclaim, or recoupment and claims under
      contracts or for breaches of duties imposed by Law or in equity; (b) any Claim (whether
      under local, state, federal U.S. Law or non-U.S. civil Law) based on or relating to, or in
      any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary
      duty, fraudulent transfer or fraudulent conveyance or voidable transaction Law, violation
      of local, state, or federal non-U.S. Law or breach of any duty imposed by Law or in equity,
      including securities Laws, negligence, and gross negligence; (c) the right to object to or
      otherwise contest Claims or interests; (d) claims pursuant to section 362 or chapter 5 of the
      Bankruptcy Code; and (e) such claims and defenses as fraud, mistake, duress, and usury,
      and any other defenses set forth in section 558 of the Bankruptcy Code.

   D. “Claim” means any “claim,” as defined in section 101(5) of the Bankruptcy Code.

   E. “DB US Releasees” means DB US and DB US’s Related Parties, including the DB Parties.

   F. “Debtor Releasees” means the Debtors, the Estates, and their predecessors, and their past,
      present, and future officers, directors, employees, agents, servants, and representatives.

   G. “Debtor Releasing Parties” means the Debtors and the Estates, on behalf of themselves and
      (a) their respective predecessors and representatives, (b) any (i) trust, plan administrator,
      or trustee established under a chapter 11 plan, (ii) chapter 7 trustee, or (iii) chapter 11
      trustee, and (c) any other persons claiming under or through each of the foregoing,
      including the Debtors and the Estates.

   H. “Effective Date” shall mean the first date by which both the following have occurred:
      (i) the Settlement Order has become a Final Order and (ii) the Summary Judgment Order
      has become a Final Order.

   I. “Estate” means as to each Debtor, the estate created in its Chapter 11 Case under
      section 541 of the Bankruptcy Code.

   J. “Estate Causes of Action” means any and all actions, Claims, rights, remedies, defenses,
      counterclaims, suits, and Causes of Action (a) owned or held, or assertable by or on behalf
      of any Debtor or its Estate (including, without limitation, claims assertable by the Tort
      Claimants’ Committee or FCR, or by any other creditors, on behalf of any Debtor or its
      Estate), (b) that constitute property of the Estates under section 541 of the Bankruptcy
      Code, (c) that are or may be commenced or pursued by a representative of the Debtors or
      the Estates, including pursuant to sections 323 or 362 of the Bankruptcy Code or chapter 5
      of the Bankruptcy Code, (d) to avoid, invalidate or recover any transfer of any kind made
      by any Debtor, or any obligation of any Debtor, including under chapter 5 of the
      Bankruptcy Code or other applicable law, (e) that constitute Successor Liability Claims, or
      (f) otherwise assertable by any Debtor or its Estate under any federal, state, or other
      applicable law seeking to establish a non-Debtor’s liability for existing or future Tort
      Claims, Environmental Claims, Indirect Environmental Claims, or other Claims against the
      Debtors; in all cases, however denominated and whether or not asserted, whether known
      or unknown, in law, at equity or otherwise, whenever and wherever arising under the laws
      of any jurisdiction.



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   K. “Environmental Claims” means any Claim or Cause of Action against a Debtor asserted
      by any Government Environmental Unit, and other civil responsibilities, obligations or
      liabilities with respect to sites relating to or arising under the Comprehensive
      Environmental Response, Compensation, and Liability Act, Resource Conservation and
      Recovery Act, or any other environmental Laws, including Claims for restoration,
      corrective action, or remediation of environmental or natural resource conditions.

   L. “Final Order” means, as applicable, an order or judgment of the Court or other court of
      competent jurisdiction with respect to the relevant subject matter, which has not been
      reversed, stayed, modified or amended, and as to which the time to appeal or seek certiorari
      has expired and no appeal or petition for certiorari has been timely taken or filed, or as to
      which any appeal that has been taken or any petition for certiorari that has been filed has
      been resolved by the highest court to which the order or judgment could be appealed or
      from which certiorari could be sought shall have been denied, resulted in no modification
      of such order or has otherwise been dismissed with prejudice; provided that the possibility
      that a motion under rule 60 of the Federal Rules of Civil Procedure or any comparable
      Bankruptcy Rule may be filed relating to such order or judgment shall not cause such order
      or judgment to not be a Final Order.

   M. “Governmental Environmental Unit” means federal, state, local, or tribal Governmental
      Units asserting claims or having regulatory authority or responsibilities with respect to
      environmental Laws.

   N. “Governmental Unit” means governmental unit as defined in section 101(27) of
      the Bankruptcy Code.

   O. “Indirect Environmental Claims” means a Claim held by a private party for breach of
      contract, indemnification, contribution, reimbursement, or cost recovery related to
      environmental monitoring or remediation, including Claims for contribution, personal
      injury, property damage, or direct costs under any environmental Law.

   P. “Law” means any federal, state, local, or foreign law (including common law), statute,
      code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly
      adopted, promulgated, issued, or entered by a governmental authority of competent
      jurisdiction (including the Court).

   Q. “NICO Releasees” means NICO and NICO’s Related Parties.

   R. “Non-Debtor Intercompany Agreements” means any agreement between a Debtor and
      NICO, including any delegation of authority by a Debtor to NICO or a Related Party of
      NICO.

   S. “Non-Debtor Released Parties” means the Brenntag Releasees, the NICO Releasees, and
      the DB US Releasees.

   T. “Petition Date” means April 26, 2023.

   U. “Related Party” means, with respect to an entity, (a) such entity’s current and former


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       affiliates and (b) such entity’s and such entity’s current and former affiliates’ directors,
       managers, officers, shareholders, equity holders (regardless of whether such interests are
       held directly or indirectly), affiliated investment funds or investment vehicles,
       predecessors, participants, successors, assigns (whether by operation of law or otherwise),
       subsidiaries, current, former, and future associated entities, managed or advised entities,
       accounts or funds, partners, limited partners, general partners, principals, members,
       management companies, fund advisors, managers, fiduciaries, trustees, employees, agents
       (including any disbursing agent), advisory board members, financial advisors, attorneys,
       accountants, investment bankers, consultants, other representatives, and other
       professionals, representatives, advisors, predecessors, successors, and assigns, each solely
       in their capacities as such (including any other attorneys or professionals retained by any
       current or former director or manager in his or her capacity as director or manager of an
       entity), and the respective heirs, executors, estates, servants and nominees of the foregoing.

   V. “Settlement Order” means an order approving this Settlement Agreement containing terms
      and provisions acceptable to the Debtors and each of the Contributing Parties.

   W. “Tort Claims” means any Claim or Cause of Action against a Debtor whether known or
      unknown, manifested or unmanifested, for costs or damages, including with respect to any
      manner of alleged bodily injury, death, sickness, disease, emotional distress, fear of cancer,
      medical monitoring, or other personal injuries (whether physical, emotional or otherwise),
      directly or indirectly arising out of or in any way relating to the presence of or exposure to
      asbestos, talc, asbestiform minerals or any other chemical compound, or asbestos-, talc-,
      asbestiform- or any other chemical compound containing products caused or allegedly
      caused by, based on or allegedly based on, arising or allegedly arising from, attributable or
      allegedly attributable to, or in connection with, directly or indirectly, in whole or in part,
      the alleged acts, omissions, or conduct of the Debtors or any of the Debtors’ predecessors-
      in-interest, including any such claims directly or indirectly, in whole or in part, arising out
      of or in any way relating to: (a) any products previously mined, manufactured, engineered,
      assembled, distributed, sold, used, consumed, installed, maintained, owned, occupied,
      stored, possessed, processed, designed, marketed, fabricated, constructed, supplied,
      produced, serviced, specified, selected, repaired, removed, replaced, released, and/or in any
      other way made available by the Debtors or any of the Debtors’ predecessors-in-interest;
      (b) any materials present at any premises owned, leased, occupied, or operated by the
      Debtors or the Debtors’ predecessors-in-interest; or (c) any talc in any way connected to
      the Debtors alleged to contain asbestos, asbestiform minerals, asbestos-containing
      products, or other constituent.

        2.     Subject to the terms and conditions of the debtor-in-possession financing order
(such order, the “DIP Order”) and the debtor-in-possession credit agreement approved by the DIP
Order and that is consistent in all respects with the terms in the DIP Term Sheet attached as
Exhibit A (the “DIP Credit Agreement”), and the entry of the DIP Order by the Court, NICO or
its designee shall provide to the Debtors a first priority secured debtor-in-possession delayed draw
term loan facility of up to $50 million (the “DIP Term Loan Facility,” and loans thereunder,
the “DIP Loans”). The aggregate principal amount of DIP Loans funded in Cash by NICO or its
designee shall be deemed the “Initial Settlement Contribution.”



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        3.       Within five business days of the Debtors giving NICO notice of the occurrence of
the Effective Date, and provided that the Effective Date has occurred, (a) NICO or its designee
shall pay the Debtors an amount equal to $535 million less the aggregate principal amount of DIP
Loans funded in Cash by NICO or its designee (the “Settlement Contribution” and, together with
the Initial Settlement Contribution, the “Settlement Payment”) and (b) the DIP Loans and other
obligations under the DIP Credit Agreement shall be deemed satisfied in full. The Settlement
Payment shall be made in full and final settlement and satisfaction of the Estate Causes of Action
released in this Settlement Agreement against Brenntag, NICO, DB US, and their Related Parties.
The Settlement Contribution shall be paid to the Debtors via wire transfer in lawful currency of
the United States of America (“Cash”).

        4.     NICO may terminate this Settlement Agreement, effective upon
five business-days’ notice to the Debtors, if any of the following occur: (1) entry of an order by
any court denying the Settlement Motion; (2) entry of an order by any court reversing or vacating
an order approving the Settlement Motion; (3) entry of an order by any court reversing, modifying,
or vacating the Summary Judgment Order; (4) entry of an order by any court appointing a
chapter 11 trustee in the Chapter 11 Cases; (5) entry of an order by any court dismissing any of
the Chapter 11 Cases or converting any of the Chapter 11 Cases to chapter 7; (6) entry of an order
by any court granting any person other than the Debtors standing to assert the Estate Causes of
Action; or (7) an uncured default or Event of Default under the DIP Order and DIP Term Loan
Facility pursuant to the terms of the DIP Order and the DIP Credit Agreement. NICO shall not be
required to seek relief from the automatic stay in order to serve notice of termination, and to
terminate, the Settlement Agreement pursuant to this paragraph.

        5.      Upon NICO’s payment of the Settlement Payment, and without the need for the
execution or delivery of any further documents or the taking of any other action by the Debtors,
the Debtor Releasing Parties, waive, release, acquit, and forever discharge the Brenntag Releasees
of and from the Estate Causes of Action arising out of, in connection with, or relating to any matters
occurring before the Effective Date (the “Debtor Released Brenntag Estate Causes of Action”).
The Brenntag Releasees other than Brenntag (which is a Party) are intended third-party
beneficiaries of this Settlement Agreement and may independently enforce all or any portion of
the rights created hereunder without in any way diminishing the rights of any Party. The Debtor
Releasing Parties agree not to file, commence, or assert any of the Estate Causes of Action against
the Brenntag Releasees after the effectiveness of the releases granted herein (i.e., the occurrence
of the Effective Date).

        6.      Upon NICO’s payment of the Settlement Payment, and without the need for
execution or delivery of any further documents or the taking of any other action by Brenntag, on
behalf of itself and its respective successors and assigns, Brenntag waives, releases, acquits, and
forever discharges the Debtor Releasees of and from any and all Causes of Action arising out of,
in connection with, or relating to any matters occurring before the Effective Date (the “Brenntag
Released Claims”). The Debtor Releasees other than the Debtors (which are Parties) are intended
third-party beneficiaries of this Settlement Agreement and may independently enforce all or any
portion of the rights created hereunder without in any way diminishing the rights of any Party.
Brenntag agrees not to file, commence, or assert any of the Brenntag Released Claims against the
Debtor Releasees after the effectiveness of the releases granted herein (i.e., the occurrence of the



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Effective Date), including, for the avoidance of doubt, by filing a proof of claim in the Chapter 11
Cases.

        7.      Upon NICO’s payment of the Settlement Payment, and without the need for the
execution or delivery of any further documents or the taking of any other action by the Debtors,
the Debtor Releasing Parties waive, release, acquit, and forever discharge the NICO Releasees of
and from the Estate Causes of Action arising out of, in connection with, or relating to any matters
occurring before the Effective Date, including the Non-Debtor Intercompany Agreements
(the “Debtor Released NICO Estate Causes of Action”). The NICO Releasees other than NICO
(which is a Party) are intended third-party beneficiaries of this Settlement Agreement and may
independently enforce all or any portion of the rights created hereunder without in any way
diminishing the rights of any Party. The Debtor Releasing Parties agree not to file, commence, or
assert any of the Estate Causes of Action against the NICO Releasees after the effectiveness of the
releases granted herein (i.e., the occurrence of the Effective Date).

        8.      Upon NICO’s payment of the Settlement Payment, and without the need for
execution or delivery of any further documents or the taking of any other action by NICO, on
behalf of itself and its respective successors and assigns, NICO waives, releases, acquits, and
forever discharges the Debtor Releasees of and from any and all Causes of Action arising out of,
in connection with, or relating to any matters occurring before the Effective Date, including the
Non-Debtor Intercompany Agreements (the “NICO Released Claims”). The Debtor Releasees
other than the Debtors (which are Parties) are intended third-party beneficiaries of this Settlement
Agreement and may independently enforce all or any portion of the rights created hereunder
without in any way diminishing the rights of any Party. NICO agrees not to file, commence, or
assert any of the NICO Released Claims against the Debtor Releasees after the effectiveness of the
releases granted herein (i.e., the occurrence of the Effective Date), including, for the avoidance of
doubt, by filing a proof of claim in the Chapter 11 Cases.

        9.     Upon NICO’s payment of the Settlement Payment, and without the need for the
execution or delivery of any further documents or the taking of any other action by the Debtors,
the Debtor Releasing Parties waive, release, acquit, and forever discharge the DB US Releasees of
and from the Estate Causes of Action arising out of, in connection with, or relating to any matters
occurring before the Effective Date (the “Debtor Released DB US Estate Causes of Action,” and
together with the Debtor Released Brenntag Estate Causes of Action and the Debtor Released
NICO Causes of Action, the “Debtor Released Estate Causes of Action”). The DB US Releasees
other than DB US (which is a Party) are intended third-party beneficiaries of this Settlement
Agreement and may independently enforce all or any portion of the rights created hereunder
without in any way diminishing the rights of any Party. The Debtor Releasing Parties agree not to
file, commence, or assert any of the Estate Causes of Action against the DB US Releasees after
the effectiveness of the releases granted herein (i.e., the occurrence of the Effective Date).

       10.      Upon NICO’s payment of the Settlement Payment, and without the need for
execution or delivery of any further documents or the taking of any other action by DB US, on
behalf of itself and its respective successors and assigns, DB US waives, releases, acquits, and
forever discharges the Debtor Releasees of and from any and all Causes of Action arising out of,
in connection with, or relating to any matters occurring before the Effective Date (the “DB US
Released Claims”). The Debtor Releasees other than the Debtors (which are Parties) are intended


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third-party beneficiaries of this Settlement Agreement and may independently enforce all or any
portion of the rights created hereunder without in any way diminishing the rights of any Party. DB
US agrees not to file, commence, or assert any of the DB US Released Claims against the Debtor
Releasees after the effectiveness of the releases granted herein (i.e., the occurrence of the Effective
Date), including, for the avoidance of doubt, by filing a proof of claim in the Chapter 11 Cases.

        11.     Notwithstanding anything to the contrary contained herein (including, but not
limited to, paragraph 16 herein) or in the Settlement Order, each Contributing Party reserves all,
and does not release any, rights, claims, and defenses (whether contractual or otherwise) against
each other Contributing Party, including but not limited to all rights, claims, and defenses under
the 2003 MSPA and 2007 SPA (including in the arbitration proceeding pending under the 2021
Arbitration Rules of the International Chamber of Commerce, Case Ref. 27945/PDP) (“Preserved
Rights”). For the avoidance of doubt, the Contributing Parties agree that the releases of the
Brenntag Released Claims, the DB US Released Claims, and the NICO Released Claims by the
respective Contributing Parties shall not be raised as a defense and shall not constitute a defense
to the assertion of Preserved Rights.

        12.      The Parties expressly acknowledge that there may be changes in the law or the
Parties may hereafter discover facts different from, or in addition to, those that they now believe
to be true with respect to any and all of the claims released in this Settlement Agreement.
Nevertheless, the Parties hereby agree that the foregoing releases shall be and remain effective in
all respects, notwithstanding any changes in the law and/or the discovery of such additional or
different facts. In addition, the Parties acknowledge that they have been advised by their respective
legal counsel and are familiar with the provisions of Section 1542 of the California Civil Code,
which provides:

      A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
      CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
      EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
      RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
      MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
      DEBTOR OR RELEASED PARTY.

        13.     As a material condition to the Effective Date of this Settlement Agreement, the
Settlement Order must provide that holders of Claims against, and interest holders in, the Debtors,
as applicable, are barred from asserting or recovering upon, directly or indirectly, the Estate Causes
of Action against any Non-Debtor Released Party. The Court shall have exclusive jurisdiction to
enforce the Settlement Order and to determine, without limitation, whether any such claims
brought against any of the Non-Debtor Released Parties constitute Estate Causes of Action and are
subject to the prohibition against prosecution of such claims.

        14.    As a material condition to the Effective Date of this Settlement Agreement, the
Settlement Order must provide that the Non-Debtor Released Parties are forever barred from
asserting the Brenntag Released Claims, the NICO Released Claims, and the DB US Released
Claims, respectively, against the Debtor Releasees, and the Court shall have exclusive jurisdiction
to enforce the Settlement Order and to determine, without limitation, whether any such claims
brought against any of the Debtor Releasees constitute Brenntag Released Claims, NICO Released


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Claims, and/or DB US Released Claims, as applicable, and are subject to the prohibition against
prosecution of such claims.

        15.     As a material condition to the Effective Date of this Settlement Agreement, subject
to the Debtors’ compliance with the requirements of the Bankruptcy Code with respect to a plan
and disclosure statement, each Contributing Party agrees they shall support confirmation of a
chapter 11 plan, including all exhibits, supplements, and amendments thereto (collectively, as may
be amended from time to time, the “Plan”) that is consistent in all respects with the terms in the
Plan Term Sheet attached as Exhibit B to this Settlement Agreement and is otherwise consistent
with this Settlement Agreement and reasonably acceptable to NICO. For the avoidance of doubt,
confirmation of a Plan is not a condition precedent to the effectiveness of this Settlement
Agreement.

        16.    Nothing in this Settlement Agreement or Settlement Order bars any person from
asserting a Cause of Action against a Non-Debtor Released Party that is not an Estate Cause of
Action.

        17.     Each Party shall use its reasonable efforts and take all such steps and execute all
such documents as are reasonably necessary and proper to secure the purpose and intent of this
Settlement Agreement, including entry of the Settlement Order. In the event that any objection,
action, proceeding, or appeal is commenced by any person to invalidate, hinder, or prevent
approval, validation, enforcement, or carrying out of any provisions of this Settlement Agreement
or entry of the Settlement Order, the Parties agree to cooperate in good faith and undertake
reasonable efforts in opposing any such objection, action, proceeding, or appeal. The Parties
acknowledge that they share a common interest in effecting this Settlement Agreement, including
that the Settlement Order becomes a Final Order.

       18.     NICO shall be entitled to treat the Settlement Payment (and any portion thereof) in
a manner that yields the most advantageous tax consequences to NICO; provided that, for the
avoidance of doubt, NICO shall make each Settlement Payment within the time frame indicated in
paragraph 3 of this Settlement Agreement.

         19.    The Debtors’ obligations under this Settlement Agreement shall be binding on their
Estates and any representatives thereof, including any reorganized or wind-down Debtors, and any
trust, plan administrator or trustee established under a chapter 11 plan, chapter 7 trustee, or chapter
11 trustee. Following the Effective Date, the Debtors, and any successor or assignee of the
Debtors, including any plan administrator or trustee appointed under a chapter 11 plan, shall
indemnify and defend, and seek, at its sole cost and expense, the dismissal of any litigation
asserting a Debtor Released Estate Cause of Action against Non-Debtor Released Parties in
violation of this Settlement Agreement or the Settlement Order.

        20.      The effectiveness of this Settlement Agreement is subject to entry of the Settlement
Order. Within five business days of execution of this Settlement Agreement, counsel for the
Debtors shall file with the Court a motion to approve this Settlement Agreement acceptable in
form and substance to the Parties (the “Settlement Motion”). Should any creditor or party in
interest object to this Settlement Agreement, the Debtors shall oppose any such objection and each
Contributing Party agrees to file a pleading opposing any such objection.


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        21.    Counsel for the Debtors shall seek relief from the Court establishing procedures
and deadlines for filing proofs of claim for all claims arising before commencement of the Debtors’
Chapter 11 Cases acceptable in form and substance to the Parties in conjunction with or prior to
entry of an order confirming the Plan.

        22.     The Parties agree that this Settlement Agreement constitutes settlement of disputed
claims and that nothing stated herein shall constitute an admission of liability on the part of any
Party, such liability being expressly denied by the same.

        23.    Nothing contained in this Settlement Agreement, or in any negotiations,
discussions, correspondence, other materials of any kind relating to this agreement or relating to
the negotiation of this agreement waives or shall be deemed to waive any Party’s work product
protection or right to claim the protections of any privilege, including attorney-client privilege,
common-interest privilege, or mediation privilege.

        24.     This Settlement Agreement constitutes the entire agreement between and among
the Parties hereto with respect to the matters contained herein and shall inure to the benefit of the
predecessors, successors, and assigns of each. The Parties hereto further state that they have
carefully read the foregoing, understand the contents thereof, and each have been independently
represented by counsel in entering this Settlement Agreement.

        25.     The Parties warrant and represent that they each have the power and authority to
sign, execute, and deliver this Settlement Agreement and to consummate the terms contemplated
hereby. The Parties further warrant and represent that they have not assigned to any person or
entity any Claims or Causes of Action that are subject to this Settlement.

        26.     In the event of a breach of this Agreement, the Parties shall have all remedies
available in law and equity. The Debtors acknowledge that the assertion of any claim or demand
against any Non-Debtor Released Party in breach of this Settlement Agreement shall cause
irreparable injury to the Non-Debtor Released Party for which there is no adequate remedy at law.
Accordingly, the Debtors agree that a Non-Debtor Released Party shall have the right, in addition
to any other remedies it may have under this Settlement Agreement or at law, to specific
performance to enforce, or injunctive or other equitable relief to prevent a threatened breach of,
this agreement. No party shall assert that the automatic stay in the Debtors’ bankruptcy case
precludes an action for breach or enforcement of this agreement. The Parties agree and the
Settlement Order shall provide that damages, if any, payable by the Debtors hereunder for breach
of this agreement shall be entitled to administrative expense priority under Section 503(b)(1) of
the Bankruptcy Code against each of the Debtors’ estates, and assertable against any reorganized
or wind-down Debtors, and any trust established under a chapter 11 plan.

        27.     This Settlement Agreement is entered into, and is to be construed in accordance
with, and enforceable pursuant to, the laws of the State of New York without regard to the
principles of conflicts of laws. Any applications by any Party regarding the enforcement or
non-enforcement of this Settlement will be limited to the exclusive jurisdiction of the United States
Bankruptcy Court for the District of New Jersey or, if the Chapter 11 Cases have been closed and
cannot be reopened, to the United States District Court for the District of New Jersey, to which
jurisdiction the Parties consent.


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       28.     No persons or entities shall be considered third-party beneficiaries of this
Settlement Agreement except the Debtor Releasees and Non-Debtor Released Parties (other than
the Debtors, Brenntag, DB US, and NICO), each of which are not signatories hereto, but who shall
be third-party beneficiaries under this Settlement Agreement and entitled to enforce it in
accordance with its terms; provided, however, the consent of the Debtor Releasees and the
Non-Debtor Released Parties (other than the Debtors, Brenntag, DB US, and NICO) shall not be
required to amend, modify, or terminate this Settlement Agreement, or waive any of its provisions.

      29.    This Settlement Agreement and the Plan Term Sheet attached hereto may be
amended or modified only by a writing signed by or on behalf of each Party.

       30.     This Settlement Agreement may be executed in one or more counterparts and by
facsimile, each of which shall be deemed to be an original and all of which shall constitute one
and the same instrument.


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                    IN WITNESS WHEREOF, the Debtors and the Contributing Parties have executed this
             Settlement Agreement as of the date and year first written above.

                                                                WHITTAKER, CLARK & DANIELS, INC.
                                                                BRILLIANT NATIONAL SERVICES, INC.
                                                                SOCO WEST, INC.
                                                                L. A. TERMINALS, INC.



                                                                By: _______________________________
                                                                Name: Tim Pohl
                                                                Title: Disinterested Director




                                                                By: _______________________________
                                                                Name: Paul Aronzon
                                                                Title: Disinterested Director




                                            [Debtors’ Signature Page to Settlement Agreement]
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                    IN WITNESS WHEREOF, the Debtors and the Contributing Parties have executed this
             Settlement Agreement as of the date and year first written above.

                                                               WHITTAKER, CLARK & DANIELS, INC.
                                                               BRILLIANT NATIONAL SERVICES, INC.
                                                               SOCO WEST, INC.
                                                               L. A. TERMINALS, INC.



                                                               By: _______________________________
                                                               Name: Tim Pohl
                                                               Title: Disinterested Director




                                                               By: _______________________________
                                                               Name: Paul Aronzon
                                                               Title: Disinterested Director




                                           [Debtors’ Signature Page to Settlement Agreement]
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       IN WITNESS WHEREOF, the Debtors and the Contributing Parties have executed this
Settlement Agreement as of the date and year first written above.

                                            BRENNTAG CANADA, INC.
                                            BRENNTAG GREAT LAKES, LLC
                                            BRENNTAG MID-SOUTH, INC.
                                            BRENNTAG NORTH AMERICA, INC.
                                            BRENNTAG NORTHEAST, LLC
                                            BRENNTAG PACIFIC, INC.
                                            BRENNTAG SOUTHWEST, INC.
                                            BRENNTAG SPECIALTIES, LLC (F/K/A
                                            BRENNTAG SPECIALTIES, INC., AND AS
                                            MINERAL AND PIGMENT SOLUTIONS, INC.)
                                            COASTAL CHEMICAL CO., LLC




                                            By: ____________________________________
                                            Name: Jaime Skinner
                                            Title: General Counsel, Brenntag North America,
                                                   Inc.




                       [Brenntag’s Signature Page to Settlement Agreement]
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                                  EXHIBIT A

                                DIP Term Sheet
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THIS TERM SHEET IS AN INDICATIVE SUMMARY OF SELECTED TERMS AND IS NOT COMPLETE
OR A COMMITMENT, OFFER, OR AGREEMENT IN PRINCIPLE TO PROVIDE FINANCING. THIS
TERM SHEET IS NOT BINDING ON ANY PARTY AND THE PARTIES DO NOT INTEND TO BE BOUND
UNLESS AND UNTIL THEY ENTER INTO DEFINITIVE DOCUMENTATION REGARDING THE
SUBJECT MATTER OF THIS TERM SHEET. NOTHING CONTAINED IN THIS TERM SHEET IS OR
SHALL BE CONSTRUED AS AN ADMISSION OF FACT OR LIABILITY OR DEEMED BINDING ON ANY
OF THE PARTIES HERETO, BE ADMISSIBLE IN ANY ACTION RELATED TO THE MATTERS
ADDRESSED HEREIN, OR CONSTITUTE A WAIVER OF ANY RIGHTS OF THE PARTIES HERETO,
WITH RESPECT TO THE PLAN OR ANY OTHER DOCUMENTS CONTEMPLATED BY THE
FOREGOING.

THIS TERM SHEET DOES NOT CREATE A DUTY TO NEGOTIATE IN GOOD FAITH TOWARD
DEFINITIVE DOCUMENTATION AND SHALL NOT BE RELIED UPON BY ANY PERSON AS THE
BASIS FOR ANY LIABILITY OR THE BASIS FOR A CONTRACT BY ESTOPPEL OR OTHERWISE.

THIS TERM SHEET IS SUBJECT TO MATERIAL CHANGES AND IS BEING DISTRIBUTED FOR
DISCUSSION PURPOSES ONLY.

                                                INTRODUCTION

This Term Sheet describes potential structural terms for a financing transaction. This Term Sheet does not include a
description of all of the terms, conditions, and other provisions that are to be contained in any definitive documents
(the “DIP Financing Documents”), which remain subject to negotiation and completion, and none will become
effective until agreed-to by the relevant parties.


                                                       TERMS

 Parties to the        Borrower: Brilliant National Services, Inc., a Delaware corporation.
 Proposed DIP
 Facility:             Guarantors: Guaranteed, on a joint and several basis, by (a) Whittaker, Clark & Daniels, Inc.,
                       a New Jersey corporation; (b) L. A. Terminals, Inc., a California corporation; and (c) Soco
                       West, Inc., a Delaware corporation (together with the Borrower, the “Debtors”).

                       DIP Lenders: National Indemnity Company and/or certain of its affiliates or designees.

 DIP Facility:         The DIP Lenders agree, severally and not jointly, to make senior secured superpriority
                       debtor-in-possession loans to the Borrower consisting of new money delayed-draw term loans
                       (the “DIP Loans”) to be made from time to time pursuant to a term loan facility (the “DIP
                       Facility”) during the Availability Period (as defined below) in an aggregate principal amount
                       (exclusive of interest) not to exceed at any time outstanding aggregate principal commitments
                       of $50,000,000 (the “DIP Commitment”), which shall be made available to the Borrower
                       subject to the terms of the DIP Credit Agreement.

                       The proceeds of the DIP Loans shall be funded into a deposit account of the Borrower. Such
                       account shall be subject to the DIP Liens (as defined below) in favor of the DIP Lenders,
                       which shall be perfected pursuant to the DIP Financing Order (as defined below) and shall be
                       subject to an account control agreement reasonably satisfactory to the DIP Lenders and the
                       Debtors.

                       “Availability Period” means the period from the Closing Date to the Maturity Date (each as
                       defined below).




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 Interest Rate:   5.35% per annum, payable in kind in arrears, on the last business day of the month. Interest
                  shall be computed on the basis of a 365/366-day year for the actual number of days elapsed.

                  At all times following the earlier of (a) December 31, 2024 and (b) upon the written election
                  of the DIP Lenders following the occurrence and during the continuance of an Event of Default
                  (as defined below), the principal, interest and all other amounts due on the DIP Loans shall
                  bear interest at a rate equal to 4.00% per annum in excess of the interest rate set forth above.

 Security and     The DIP Lenders shall be granted, pursuant to sections 364(c)(2), 364(c)(3) and 364(d)(1) of
 Priority:        the Bankruptcy Code (as defined below), continuing, valid, binding, enforceable,
                  non-avoidable, and automatically perfected, post-petition first priority security interests and
                  liens to secure the DIP Facility (the “DIP Liens”) on all tangible and intangible real and
                  personal property of the Debtors, and all other property of the Debtors of whatever kind, nature
                  or description, whether acquired or created prepetition or post-petition, and the proceeds of
                  each of the foregoing (the “DIP Collateral”). Notwithstanding the foregoing, the DIP Liens
                  shall not extend to, and the DIP Collateral shall not consist of, (w) Avoidance Actions (as
                  defined in the DIP Order), (x) Successor Liability Claims (as defined in the DIP Order), (y)
                  other estate causes of action and estate claims, if any, against the DIP Lenders and their
                  Affiliates (as defined in the DIP Financing Documents) (together with subclauses (w) and (x),
                  the “Specified Estate Claims”) and (z) Excluded Assets (as defined in the DIP Order);
                  provided, that DIP Collateral shall include the proceeds of Specified Estate Claims and
                  Excluded Assets; provided, however, that DIP Collateral shall not include the proceeds of the
                  EPA Trust Account (as defined in the DIP Order). For the avoidance of doubt, all estate causes
                  of actions and estate claims other than the Specified Estate Claims shall be DIP Collateral.

                  The DIP Facility shall constitute allowed superpriority administrative expense claims
                  (the “DIP Claims”) in the Chapter 11 Cases (as defined below) and shall have priority over all
                  other claims and administrative expenses of the kind specified in sections 503(b) and 507(b)
                  of the Bankruptcy Code.

                  The DIP Liens and the DIP Claims shall be subject to the Carve Out (as defined below).

                  All of the liens described herein with respect to the assets of the Debtors shall be effective and
                  perfected by the DIP Financing Order and without the necessity of the execution of mortgages,
                  security agreements, pledge agreements, financing statements or other agreements.
                  Notwithstanding the foregoing, the Debtors shall take all action that may be reasonably
                  necessary or desirable, or that the DIP Lenders may reasonably request, to at all times maintain
                  the validity, perfection, enforceability and priority of the DIP Liens, or to enable the DIP
                  Lenders to protect, exercise or enforce its rights under the DIP Financing Order and the DIP
                  Documents.

 Carve Out:       The DIP Financing Order shall include the professional fee carve out as set forth in Annex A
                  attached hereto (the “Carve Out”).

 Fees and         None.
 Expenses:

 Closing Date:    Closing to occur upon satisfaction (or waiver by the DIP Lenders in their sole discretion) of
                  the “Closing Conditions” (the date on which such conditions have been satisfied or waived,
                  the “Closing Date”).

 Closing          The DIP Facility and the making of each DIP Loan shall be conditioned upon the satisfaction
 Conditions;      of conditions precedent usual for facilities and transactions of this type and appropriate in
 Conditions       these circumstances as set forth in the DIP Financing Documents, including, (a) no continuing
 Precedent to     default or Event of Default; (b) in the case of the initial DIP Loan, entry of an Approved Order



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 Extensions of     (as defined below) by the Bankruptcy Court approving the DIP Financing and DIP Financing
 Credit:           Documents, on a final basis, which order shall not have been reversed, modified, amended,
                   supplemented, stayed, vacated or subject to stay (the “DIP Financing Order”) and delivery of
                   the Initial Approved Budget; and (c) in the case of subsequent DIP Loans, delivery of (i) a
                   Notice of Borrowing and (ii) a Subsequent Approved Budget.

 Budget:           The Debtors shall prepare and deliver to the DIP Lenders a budget beginning with the week
                   which includes the Closing Date of the DIP Facility through January 31, 2025 (the “Budget
                   Period”), showing anticipated cash receipts and cash disbursements in form and substance
                   satisfactory to the DIP Lenders in their sole discretion (the “Initial Approved Budget”).

                   The Debtors shall prepare and deliver with a Notice of Borrowing an updated budget for the
                   remainder of the Budget Period in form and substance reasonably satisfactory to the DIP
                   Lenders and the Debtors (a “Subsequent Approved Budget”); provided, that any Subsequent
                   Approved Budget that shows “Net Available Unrestricted Cash” of the Debtors at the end of
                   the Budget Period of less than $5 million must be satisfactory to the DIP Lenders in their sole
                   discretion

 Milestones:       The Debtors shall comply with the following milestones (the “Milestones”), and the failure
                   to timely comply shall constitute an immediate Event of Default:

                      (a) The hearing to approve the Proposed Settlement (which hearing may be the hearing to
                          approve the Approved Plan) shall be scheduled to begin on or before December 1,
                          2024;

                      (b) Entry by the Bankruptcy Court of an Approved Order approving the Proposed
                          Settlement (a “Settlement Order”) on or before December 31, 2024;

                      (c) Filing an Approved Plan and Approved Disclosure Statement with the Bankruptcy
                          Court on or before October 28, 2024; and

                      (d) Commencement of solicitation of acceptances of an Approved Plan on or before
                          December 26, 2024.

 Draw of Initial   Subject to the satisfaction of certain conditions precedent, the Borrower may borrow DIP
 DIP Loan:         Loans in the amount of $20 million upon the Closing Date.

 Subsequent        At any time on or after October 12, 2024, subject to the satisfaction of certain conditions
 Draws of DIP      precedent, including the Borrower providing the DIP Lenders with (a) a Notice of Borrowing
 Loans:            and (b) a Subsequent Approved Budget, the Borrower may borrow DIP Loans in amounts
                   requested by the Borrower and the DIP Lenders shall promptly make available funds equal to
                   the amount of the requested DIP Loan to the Borrower by wire transfer to the account specified
                   in the Notice of Borrowing; provided that, notwithstanding anything to the contrary in this
                   Term Sheet or Annex A, the DIP Lenders shall have no obligation to make DIP Loans to the
                   extent that such DIP Loans would cause the aggregate amount of outstanding DIP Loans to
                   exceed the DIP Commitment.

 Maturity Date:    All obligations in respect of the DIP Facility and DIP Loans shall be due and payable in full
                   and in cash, and the DIP Commitments (if any) shall terminate, on the earliest to occur
                   (the “Maturity Date”) of (i) the date the Debtors’ receive the Settlement Contribution (as
                   defined in the Proposed Settlement) (the “Settlement Contribution Date”), (ii) the date the DIP
                   Loans are accelerated in accordance with the DIP Financing Documents and the DIP Financing
                   Order, and (iii) the date of the dismissal of any of the chapter 11 cases or conversion of the
                   chapter 11 cases to cases under chapter 7 of the Bankruptcy Code.




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                   No order confirming a plan of reorganization entered in the Chapter 11 Cases shall discharge
                   or otherwise affect in any way the joint and several obligations of the Debtors to the DIP
                   Lenders under the DIP Facility.

                   Notwithstanding the foregoing, upon the occurrence of the Settlement Contribution Date, the
                   DIP Lenders hereby irrevocably agree that: (a) the Debtors’ obligations under the DIP
                   Financing Documents to repay the principal of the DIP Loans and any interest thereon shall
                   be automatically forgiven, released, and terminated, and (b) any DIP Liens or securities
                   interests granted to the DIP Lenders by the Debtors on any DIP Collateral shall be
                   automatically released and terminated.

 Use of Proceeds   Proceeds of the DIP Facility and other cash collateral will be used (i) for general corporate
 and Cash          purposes of the Debtors, including to fund the costs of the administration of the Chapter 11
 Collateral:       Cases and to pay such prepetition expenses, in each case in a manner consistent with the
                   Approved Budget; (ii) to pay professional fees and expenses; (iii) to pay premiums, fees,
                   expenses, penalties, and other amounts owed under the DIP Financing Documents, to the
                   extent applicable; (iv) to fund a wind-down budget in form and substance acceptable to the
                   DIP Lender; and (v) to fund the Carve Out; provided, that in no event shall any such proceeds
                   be used to assert, support or prosecute (or to seek standing to assert, support or prosecute) any
                   claims or causes of action against, or which are indemnified by, the DIP Lenders or any of
                   their Affiliates; provided, however, that such proceeds may be used to seek approval of (or
                   object to or otherwise respond to) the Proposed Settlement.

 Representations   The DIP Facility (and the making of any DIP Loan) shall include representations and
 and Warranties:   warranties of the Debtors usual for facilities and transactions of this type and appropriate in
                   these circumstances.
 Covenants:        The DIP Facility shall include covenants usual for facilities and transactions of this type and
                   appropriate in these circumstances, including as set forth above.

 Events of         Each of following shall constitute an “Event of Default”:
 Default:
                   (i)    failure of any representation or warranty to be true and correct in all material respects
                          (or, to the extent qualified by materiality, in all respects) when made and, to the extent
                          capable of being cured, such representation or warranty is not corrected or clarified (in
                          each case, in a manner which causes such representation or warranty to no longer be
                          incorrect or misleading) within 5 days after it was initially made;

                   (ii)   failure by any Debtor to be in compliance in all respects with the Milestones and any
                          other provisions of the DIP Facility and/or the DIP Financing Order, unless, in the case
                          of certain affirmative covenants, such failure is cured within 15 days after written notice
                          thereof;

                   (iii) entry of an order of the Bankruptcy Court with respect to any Debtor, dismissal of its
                         Chapter 11 Case or converting it to a case under Chapter 7 of the Bankruptcy Code, or
                         the appointment in any of the Chapter 11 Cases of a trustee, receiver, examiner, or
                         responsible officer with enlarged powers relating to the operation of the business of any
                         Debtor (powers beyond those set forth in sections 1106(a)(3) and (a)(4) of the
                         Bankruptcy Code), or, in each case, any Debtor shall seek approval therefor or support
                         or fail to object to any motion seeking the foregoing;

                   (iv) the Bankruptcy Court declines to approve the Settlement Order or the Confirmation
                        Order;

                   (v)    entry of an order of the Bankruptcy Court or other court of competent jurisdiction
                          reversing, amending, supplementing, staying, vacating or otherwise modifying the Estate


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                           Claims Decision, DIP Financing Order, the Settlement Order or the Confirmation Order
                           or any Debtor shall seek approval therefor or support or fail to object to and motion
                           seeking the foregoing, in each case;

                     (vi) entry of an order in the Chapter 11 Cases confirming a plan that is not an Approved Plan
                          or any Debtor shall seek approval therefor or support or fail to object to any motion
                          seeking the foregoing;

                     (vii) entry of an order of the Bankruptcy Court for any financing pursuant to Section 364 of
                           the Bankruptcy Code (other than the DIP Financing), or any Debtor shall seek approval
                           therefor or support or fail to object to and motion seeking the foregoing;

                     (viii) entry of an order of the Bankruptcy Court granting (x) any Liens in any of the Chapter
                            11 Cases that (i) are senior to or pari passu with the DIP Liens or (ii) encumber any
                            Specified Estate Claims, or (y) any claims that are senior to or pari passu with the DIP
                            Claims or, in each case, any Debtor shall seek approval therefor or support or fail to
                            object to and motion seeking the foregoing;

                     (ix) any Debtor shall seek to, or shall support any motion to disallow in whole or in part the
                          DIP Claims;

                     (x)   based on (a) the most recent Subsequent Approved Budget, (b) actual cash disbursements
                           made by the Debtors as of such date and (c) fees incurred by persons or firms retained
                           by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code, as reflected
                           on any fee statement or fee application filed with the Court as of such date, cash of the
                           Debtors at the end of the Budget Period will be less than $5 million; and

                     (xi) the DIP Financing Order or any DIP Financing Document shall cease, for any reason, to
                          be in full force and effect or the Debtors shall so assert in writing.

 Remedies Upon       Subject to the terms of the DIP Financing Order, the Carve Out, and the DIP Financing
 Event of Default:   Documents, upon the occurrence and during the continuance of any Event of Default, subject
                     to notice to the Debtors required under the DIP Financing Order, the DIP Lenders may take
                     all or any of the following actions without further order of or application to the Bankruptcy
                     Court, and notwithstanding the automatic stay:
                     (a)   declare the DIP Loans (including principal of, and accrued interest on, any outstanding
                           DIP Loans) to be immediately due and payable; and/or

                     (b)   exercise rights and remedies pursuant to the terms of the DIP Financing Order, the DIP
                           Financing Documents or applicable law (including, without limitation, direct any or all
                           of the Debtors (or file a motion in the name of the Debtors)), (i) to enforce the terms and
                           provisions of the DIP Financing Documents, and (ii) to sell or otherwise dispose of or
                           otherwise monetize any all of the DIP Collateral on terms and conditions reasonably
                           acceptable to the DIP Lenders pursuant to Sections 363, 365 and other applicable
                           provisions of the Bankruptcy Code; provided that, subject to the DIP Financing Order,
                           the Debtors shall take all action that is reasonably necessary to cooperate with the DIP
                           Lenders’ exercise of their rights and remedies and facilitate the realization upon the DIP
                           Collateral by the DIP Lenders.




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                                          CERTAIN DEFINITIONS

 Approved           A disclosure statement in form and substance mutually agreeable to the DIP Lenders and the
 Disclosure         Debtors.
 Statement

 Approved Order     An order of the Bankruptcy Court in form mutually agreeable to the DIP Lenders and the
                    Debtors.

 Approved Plan      A plan of reorganization in form and substance mutually agreeable to the DIP Lenders and the
                    Debtors.

 Bankruptcy Code    Title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

 Bankruptcy         The United States Bankruptcy Court for the District of New Jersey or such other court having
 Court              jurisdiction over the Chapter 11 Cases.

 Chapter 11 Cases   When used with reference (a) to a particular Debtor, the case pending for that Debtor in the
                    Bankruptcy Court under chapter 11 of the Bankruptcy Code, and (b) to all Debtors, the
                    procedurally consolidated and jointly administered chapter 11 cases pending for the Debtors
                    in the Bankruptcy Court under Case No. 23-13575 (MBK) pursuant to the Order (I) Directing
                    Joint Administration of Chapter 11 Cases and (II) Granting Related Relief [Docket No. 72].

 Estate Claims      The order of the Bankruptcy Court entered on August 28, 2024 in Case No. 23-01245 (MBK)
 Decision           at Adv. Proc. Docket No. 292.


 Proposed           That certain Settlement Agreement between the Debtors and various other parties settling
 Settlement         estate claims and causes of action.


 Notice of          An irrevocable notice (which notice must be received by the Lender no later than 10:00 a.m.,
 Borrowing          New York time, five (5) Business Days prior to the requested borrowing date).

                    Such notice shall be signed by an authorized officer of the Borrower and state that, to the best
                    of their knowledge, (a) the proceeds of the DIP Loans to be made in connection with such
                    Notice of Borrowing shall be used in accordance with the terms of the DIP Credit Agreement,
                    (b) no default or Event of Default has occurred and is continuing, and (c) the representations
                    and warranties contained in the DIP Credit Agreement are true and correct in all material
                    respects as at the applicable borrowing date.




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                                    Annex A

                                   Carve Out




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1.       Carve Out.

          (a)       Carve Out. As used in this Order, the “Carve Out” means the sum of (i) all fees required to be paid
to the Clerk of the Court and to the Office of the United States Trustee under section 1930(a) of title 28 of the United
States Code plus interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable
fees and expenses up to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard
to the notice set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim order, procedural order,
or otherwise, all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms retained by
the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”), the FCR
pursuant to section 105(a) or 1103 (the “FCR Professionals”), and the Committee pursuant to section 328 or 1103 of
the Bankruptcy Code (the “Committee Professionals” and, together with the Debtor Professionals and FCR
Professionals, the “Professional Persons”) at any time before or on the first business day following delivery by the
DIP Lenders of a Carve Out Trigger Notice (as defined below), whether allowed by the Court prior to or after delivery
of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of Professional Persons in an aggregate amount
not to exceed $500,000 incurred after the first business day following delivery by the DIP Lenders of the Carve Out
Trigger Notice, to the extent allowed at any time, whether by interim order, procedural order, or otherwise (the
amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing,
“Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic means) by the DIP
Lenders to the Debtors, their lead restructuring counsel, the U.S. Trustee, counsel to the FCR, and counsel to the
Committee, which notice may be delivered following the occurrence and during the continuation of an Event of
Default and acceleration of the DIP Obligations under the DIP Facility, stating that the Post-Carve Out Trigger Notice
Cap has been invoked.

          (b)       Carve Out Reserves. On the day on which a Carve Out Trigger Notice is given by the DIP Lenders
to the Debtors with a copy to counsel to the FCR and counsel to the Committee (the “Termination Declaration Date”),
the Carve Out Trigger Notice shall (i) be deemed a draw request and notice of borrowing by the Debtors for DIP
Loans under the DIP Commitments (each, as defined in the DIP Credit Agreement), in an amount equal to the then
unpaid amounts of the Allowed Professional Fees (any such amounts actually advanced shall constitute DIP Loans)
and (ii) also constitute a demand to the Debtors to utilize all cash on hand as of such date and any available cash
thereafter held by any Debtor to fund a reserve in an amount equal to the then unpaid amounts of the Allowed
Professional Fees. The Debtors shall deposit and hold such amounts in a segregated account in trust to pay such then
unpaid Allowed Professional Fees (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other claims. On
the Termination Declaration Date, the Carve Out Trigger Notice shall also (i) be deemed a request by the Debtors for
DIP Loans under the DIP Commitments, in an amount equal to the Post-Carve Out Trigger Notice Cap (any such
amounts actually advanced shall constitute DIP Loans) and (ii) constitute a demand to the Debtors to utilize all cash
on hand as of such date and any available cash thereafter held by any Debtor, after funding the Pre-Carve Out Trigger
Notice Reserve, to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap. The Debtors shall
deposit and hold such amounts in a segregated account in trust to pay such Allowed Professional Fees benefiting from
the Post-Carve Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-
Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to any and all other claims. On the first business
day after the DIP Lenders give such notice, notwithstanding anything in the DIP Credit Agreement to the contrary,
including with respect to the existence of a Default (as defined in the DIP Credit Agreement) or Event of Default, the
failure of the Debtors to satisfy any or all of the conditions precedent for DIP Loans under the DIP Facility, any
termination of the DIP Commitments following an Event of Default, or the occurrence of the Maturity Date (as defined
in the DIP Credit Agreement), the DIP Lenders shall make available to the Debtors such borrowing in accordance
with the DIP Facility. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to pay the obligations
set forth in clauses (i) through (iii) of the definition of Carve Out set forth above (the “Pre-Carve Out Amounts”), but
not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the extent the
Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the DIP Lenders, unless the DIP
Obligations have been indefeasibly paid in full, in cash, and all DIP Commitments have been terminated, in which
case any such excess shall be paid to the Debtors. All funds in the Post-Carve Out Trigger Notice Reserve shall be
used first to pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above (the “Post-Carve
Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to
pay the DIP Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and all DIP Commitments


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have been terminated, in which case any such excess shall be paid to the Debtors. Notwithstanding anything to the
contrary in the DIP Facility Documents or this Order, if either of the Carve Out Reserves is not funded in full in the
amounts set forth in this paragraph 7, then, any excess funds in one of the Carve Out Reserves following the payment
of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be used to fund the other Carve Out
Reserve, up to the applicable amount set forth in this paragraph 7, prior to making any payments to the DIP
Lenders. Notwithstanding anything to the contrary in the DIP Facility Documents or this Order, following delivery
of a Carve Out Trigger Notice, the DIP Lenders shall not sweep or foreclose on cash (including cash received as a
result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been fully funded,
but shall have a security interest in any residual interest in the Carve Out Reserves, with any excess paid to the DIP
Lenders for application in accordance with the DIP Facility Documents. Further, notwithstanding anything to the
contrary in this Order, (i) disbursements by the Debtors from the Carve Out Reserves shall not constitute DIP Loans
(as defined in the DIP Credit Agreement) or increase or reduce the DIP Obligations, (ii) the failure of the Carve Out
Reserves to satisfy in full the Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii) in no
way shall the Approved Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out Reserves, or any of the
foregoing be construed as a cap or limitation on the amount of the Allowed Professional Fees due and payable by the
Debtors. For the avoidance of doubt and notwithstanding anything to the contrary in this Order or the DIP Facility,
the Carve Out shall be senior to all liens and claims securing the DIP Facility and any and all other forms of adequate
protection, liens, or claims securing the DIP Obligations.

         (c)      Payment of Allowed Professional Fees Prior to the Termination Declaration Date. Any payment or
reimbursement made prior to the occurrence of the Termination Declaration Date in respect of any Allowed
Professional Fees shall not reduce the Carve Out.

         (d)      No Direct Obligation To Pay Allowed Professional Fees. The DIP Lenders shall not be responsible
for the payment or reimbursement of any fees or disbursements of any Professional Person incurred in connection
with the Chapter 11 Cases or any successor cases under any chapter of the Bankruptcy Code. Nothing in this Order
or otherwise shall be construed to obligate the DIP Lenders in any way, to pay compensation to, or to reimburse
expenses of, any Professional Person or to guarantee that the Debtors have sufficient funds to pay such compensation
or reimbursement.

          (e)      Payment of Carve Out On or After the Termination Declaration Date. Any payment or
reimbursement made on or after the occurrence of the Termination Declaration Date in respect of any Allowed
Professional Fees shall permanently reduce the Carve Out on a dollar-for-dollar basis. Any funding of the Carve Out
shall be added to, and made a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled
to the protections granted under this Order, the DIP Facility Documents, the Bankruptcy Code, and applicable law.




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                                  EXHIBIT B

                               Plan Term Sheet
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THIS IS AN ILLUSTRATIVE TERM SHEET AND IS NOT AND SHALL NOT BE CONSTRUED
AS AN OFFER WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF
THE BANKRUPTCY CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH
ALL APPLICABLE SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY
CODE. NOTHING CONTAINED IN THIS ILLUSTRATIVE TERM SHEET IS OR SHALL BE
CONSTRUED AS AN ADMISSION OF FACT OR LIABILITY OR DEEMED BINDING ON ANY
OF THE PARTIES HERETO, BE ADMISSIBLE IN ANY ACTION RELATED TO THE
MATTERS ADDRESSED HEREIN, OR CONSTITUTE A WAIVER OF ANY RIGHTS OF THE
PARTIES HERETO, WITH RESPECT TO THE PLAN OR ANY OTHER DOCUMENTS
CONTEMPLATED BY THE FOREGOING.

THIS ILLUSTRATIVE TERM SHEET DOES NOT CREATE A DUTY TO NEGOTIATE IN
GOOD FAITH TOWARD DEFINITIVE DOCUMENTATION AND SHALL NOT BE RELIED
UPON BY ANY PERSON AS THE BASIS FOR ANY LIABILITY OR THE BASIS FOR A
CONTRACT BY ESTOPPEL OR OTHERWISE.

THIS ILLUSTRATIVE TERM SHEET IS SUBJECT TO MATERIAL CHANGES AND IS BEING
DISTRIBUTED FOR DISCUSSION AND ILLUSTRATIVE PURPOSES ONLY.

                                           ILLUSTRATIVE TERM SHEET 1

                                                INTRODUCTION

This Illustrative Term Sheet describes potential structural terms of a chapter 11 plan, incorporating the
implementation of a consensual resolution regarding estate causes of action against NICO, Brenntag, and
DB US and related parties. This Illustrative Term Sheet does not include a description of all of the terms,
conditions, and other provisions that are to be contained in any definitive documents, which remain subject
to negotiation and completion, and none will become effective until agreed-to by the relevant parties. This
Illustrative Term Sheet incorporates the rules of construction as set forth in section 102 of the Bankruptcy
Code.

                                             CLAIMS TREATMENT

Treatment of                        (i) Treatment: On the Plan Effective Date, each Holder of an Allowed
Environmental Claims and            Environmental Claim and each Holder of an Allowed Indirect
Indirect Environmental              Environmental Claim shall receive, in full and final satisfaction of such
Claims                              Environmental Claim its Pro Rata share of the Environmental Remediation
                                    Trust Assets in accordance with the Environmental Remediation Trust
                                    Agreement after all DIP Claims, Administrative Claims, Priority Tax
                                    Claims, Professional Fee Claims, and Priority Claims have been paid in full.
                                    (ii) Impairment and Voting: Environmental Claims and Indirect
                                    Environmental Claims are impaired. Holders of Environmental Claims and
                                    Holders of Indirect Environmental Claims are entitled to vote to accept or

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    This Illustrative Term Sheet is presented for discussion purposes only and is subject in its entirety to (a) approval
    of the Debtors’ boards of directors, and with respect to conflicts matters, the Disinterested Directors, and
    (b) confirmatory tax diligence. Capitalized Terms not otherwise defined herein have the meaning ascribed to
    them in the Settlement Agreement.
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                               reject the Plan.

Treatment of Tort Claims       (i) Treatment: On the Plan Effective Date, each Holder of an Allowed Tort
                               Claim shall receive, in full and final satisfaction of such Tort Claim, its Pro
                               Rata share of the Tort Claims Trust Assets in accordance with the Plan, Tort
                               Claims Trust Agreement, and Tort Claims Trust Distribution Procedures
                               after all Administrative Claims, Priority Tax Claims, Professional Fee
                               Claims, and Priority Claims have been paid in full.
                               (ii) Impairment and Voting: Tort Claims are impaired. Holders of Tort
                               Claims are entitled to vote to accept or reject the Plan.

Treatment of General           On the Plan Effective Date, each Holder of an Allowed General Unsecured
Unsecured Claims               Claim shall receive, in full and final satisfaction of such General Unsecured
                               Claim, its Pro Rata share of the GUC Trust Assets in accordance with the
                               Plan and GUC Claims Trust Agreement, after all Administrative Claims,
                               Priority Tax Claims, Professional Fee Claims, and Priority Claims have
                               been paid in full.

Treatment of                   On or as soon as practicable after the later to occur of (i) the Plan Effective
Administrative, Priority       Date and (ii) the date such claim becomes allowed (or as otherwise set forth
and Priority Tax Claims        in the Plan), each holder of an administrative, priority, or priority tax claim
                               will either be satisfied in full, in cash, or otherwise receive treatment
                               consistent with the provisions of section 1129(a)(9) of the Bankruptcy
                               Code.

Treatment of DIP Claims        On or as soon as practicable after the Plan Effective Date, each Holder of a
                               DIP Claim shall receive, in full and final satisfaction of such DIP Claim,
                               upon the earlier of: (i) the occurrence of the Settlement Effective Date,
                               pursuant to the Estate Claims Settlement, a dollar-for-dollar reduction on
                               account of the principal amount of the DIP Loans funded in cash otherwise
                               required to be paid by such holder (or its designated affiliate); or (ii) the
                               occurrence of a termination event pursuant to paragraph 4 of the Settlement
                               Agreement, payment in full in cash of such DIP Claims.

Treatment of Non-Debtor        On the Plan Effective Date, each Holder of a Non-Debtor Intercompany
Intercompany Claims            Claim shall waive such Non-Debtor Intercompany Claim pursuant to the
                               Estate Claims Settlement.

                GENERAL PROVISIONS REGARDING THE RESTRUCTURING

Wind-Down Transactions         On the Plan Effective Date, or as soon as reasonably practicable thereafter,
                               the Wind-Down Debtors shall take all actions as may be necessary or
                               appropriate to effectuate the Wind-Down Transactions, which shall be
                               reasonably acceptable to NICO, including, without limitation: (1) the
                               execution and delivery of any appropriate agreements or other documents
                               of merger, consolidation, restructuring, conversion, disposition, transfer,
                               dissolution, or liquidation containing terms that are consistent with the
                               terms of the Plan, and that satisfy the requirements of applicable law and
                               any other terms to which the applicable Entities may agree; (2) the execution
                               and delivery of appropriate instruments of transfer, assignment, assumption,


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                                    or delegation of any asset, property, right, liability, debt, or obligation on
                                    terms consistent with the terms of the Plan and having other terms for which
                                    the applicable parties agree; (3) the filing of appropriate certificates or
                                    articles of incorporation, reincorporation, merger, consolidation,
                                    conversion, or dissolution pursuant to applicable state law; (4) such other
                                    transactions that are required to effectuate the Wind-Down Transactions;
                                    (5) all transactions necessary to provide for the purchase of some or all of
                                    the assets of, or Interests in, any of the Debtors which purchase may be
                                    structured as a taxable transaction for United States federal income tax
                                    purposes; and (6) all other actions that the applicable Entities determine to
                                    be necessary or appropriate, including making filings or recordings that may
                                    be required by applicable law.

Distributable Proceeds and          On or after the Plan Effective Date, the Disbursing Agent shall make
Waterfall Recovery                  Distributions on account of Allowed Claims in accordance with the Plan,
                                    the Environmental Remediation Trust Agreement, Tort Claims Trust (and
                                    Tort Claims Trust Distribution Procedures), and GUC Trust Agreement, as
                                    applicable, using the Distributable Proceeds.
                                    In accordance with this Plan, Distributable Proceeds shall be paid to Holders
                                    of Allowed Claims until satisfied in full from time to time in the following
                                    priority: (1) first, on account of DIP Claims (if any remain outstanding after
                                    giving effect to the Estate Claims Settlement), (2) second, on account of
                                    Allowed Administrative Claims and Priority Tax Claims; (3) third, on
                                    account of Allowed Priority Claims; and (4) fourth, (A) Distributable
                                    Proceeds that constitute the Tort Claims Trust Assets shall be paid to
                                    Holders of Allowed Tort Claims in accordance with the Tort Claims Trust
                                    Distribution Procedures, (B) Distributable Proceeds that constitute the
                                    Environmental Remediation Trust Assets shall be paid to Holders of
                                    Allowed Environmental Claims and Holders of Allowed Indirect
                                    Environmental Claims, and (C) Distributable Proceeds that constitute the
                                    GUC Trust Assets shall be paid to Holders of Allowed General Unsecured
                                    Claims (collectively, the “Waterfall Recovery”); provided, for the
                                    avoidance of doubt, that the foregoing shall be subject in all respects to the
                                    funding of the Professional Fee Escrow Account prior to or on the Plan
                                    Effective Date.

Environmental Remediation           The trust to be established by the Debtors on the Plan Effective Date, to
Trust 2                             which the Debtors will contribute the Environmental Remediation Trust
                                    Assets and which will be governed by the Environmental Remediation Trust
                                    Agreement to be filed with the Plan Supplement.

Environmental Remediation           (a) the Cash proceeds obtained through the pursuit of Assigned Insurance
Trust Assets                        Rights on account of Environmental Claims and Indirect Environmental
                                    Claims (the “Environmental Claim Insurance Proceeds” and (b) [●]% of the
                                    Settlement Proceeds.




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    For the avoidance of doubt, trust structure is subject in all respects to confirmatory tax diligence.


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GUC Claims Trust 3                  The trust to be established by the Debtors on the Plan Effective Date, to
                                    which the Debtors will contribute the GUC Trust Assets and which will be
                                    governed by the GUC Trust Agreement to be filed with the Plan
                                    Supplement, which shall be reasonably acceptable to NICO.

GUC Claims Trust Assets             (a) the Cash proceeds obtained through the pursuit of Assigned Insurance
                                    Rights on account of General Unsecured Claims (the “General Unsecured
                                    Claim Insurance Proceeds”) and (b) [●]% of the Settlement Proceeds.

Tort Claims Trust 4                 The trust to be established by the Debtors on the Plan Effective Date, to
                                    which the Debtors will contribute the Tort Claims Trust Assets and which
                                    will be governed by the Tort Claims Trust Agreement to be filed with the
                                    Plan Supplement.

Tort Claims Trust Assets            (a) the Cash proceeds obtained through the pursuit of Assigned Insurance
                                    Rights on account of Tort Claims (the “Tort Claim Insurance Proceeds”)
                                    and (b) [●]% of the Settlement Proceeds.

Tort Claims Trust                   The document to be included in the Plan Supplement governing the
Distribution Procedures             procedures for submission, resolution, and distribution in respect of all Tort
                                    Claims, which shall be reasonably satisfactory to NICO.

Plan Administrator                  The Debtors, in consultation with NICO, shall appoint a Plan Administrator,
                                    who shall act for the Wind-Down Debtors in the same fiduciary capacity as
                                    applicable to a president and chief executive officer (and all certificates of
                                    formation, membership agreements, and related documents are deemed
                                    amended by the Plan to permit and authorize the same) and retain and have
                                    all the rights, powers, and duties necessary to carry out his or her
                                    responsibilities under this Plan in accordance with the Wind-Down and as
                                    otherwise provided in the Confirmation Order.
                                    The powers of the Plan Administrator shall include any and all powers and
                                    authority to implement the Plan and to administer and distribute the
                                    Distributable Proceeds to the Environmental Remediation Trust, Tort
                                    Claims Trust, and GUC Trust, as applicable, in accordance with the Plan,
                                    the Environmental Remediation Trust Agreement, Tort Claims Trust, and
                                    GUC Trust Agreement, and the Waterfall Recovery and wind down the
                                    affairs of the Debtors and Wind-Down Debtors, including (all without
                                    further order of the Bankruptcy Court): (1) receiving, holding, investing,
                                    liquidating, supervising, and protecting the assets of the Wind-Down
                                    Debtors (2) taking all steps to execute all instruments and documents
                                    necessary to effectuate the Distributions to be made under the Plan;
                                    (3) making Distributions as contemplated under the Plan; (4) establishing
                                    and maintaining bank accounts in the name of the Wind-Down Debtors;
                                    (5) subject to the terms set forth herein, employing, retaining, terminating,
                                    or replacing professionals to represent it with respect to its responsibilities
                                    or otherwise effectuating the Plan to the extent necessary; (6) paying all

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    For the avoidance of doubt, trust structure is subject in all respects to confirmatory tax diligence.
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    For the avoidance of doubt, trust structure is subject in all respects to confirmatory tax diligence.


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                               reasonable and documented fees, expenses, debts, charges, and liabilities of
                               the Wind-Down Debtors; (7) administering and paying taxes of the
                               Wind-Down Debtors, including filing tax returns; (8) representing the
                               interests of the Wind-Down Debtors or the Estates before any taxing
                               authority in all matters, including any action, suit, proceeding, or audit;
                               (9) investigating commencing, prosecuting, or settling the Retained Causes
                               of Action; (10) pursuing Claims related to the Insurance Contracts subject
                               to the terms and conditions of the Plan and applicable terms, conditions, and
                               other provisions of the applicable Insurance Contracts and applicable Law;
                               (11) taking all steps to enforce the Settlement Order and the Confirmation
                               Order, including by acting for the Wind-Down Debtors with respect to
                               actions to enforce the Settlement Order and the Confirmation Order and/or
                               defend appeals of the Settlement Order and/or the Confirmation Order, and
                               (12) exercising such other powers as may be vested in it pursuant to order
                               of the Bankruptcy Court or pursuant to the Plan, or as it reasonably deems
                               to be necessary and proper to carry out the provisions of the Plan.

Estate Claims Settlement       A settlement of all claims or causes of actions that are property of the
                               Debtors’ estates or that Debtors otherwise have standing to assert under the
                               Bankruptcy Code, by and among the Debtors and the Contributing Parties,
                               the proceeds of which (the “Settlement Proceeds”) shall be used to fund the
                               Professional Fee Amount and Distributions pursuant to the Waterfall
                               Recovery, pursuant to terms agreeable to the parties and contingent upon
                               Bankruptcy Court approval.
                               Following the Effective Date of the Settlement Agreement, the Debtors, and
                               any successor or assignee of the Debtors, including any plan administrator
                               or trustee appointed under a chapter 11 plan, shall indemnify and defend,
                               and seek, at its sole cost and expense, the dismissal of any litigation
                               asserting a Debtor Released Estate Cause of Action against the NICO
                               Releasees, the DB US Releasees, or the Brenntag Releasees (each as defined
                               in the Settlement Agreement) in violation of this Settlement Agreement or
                               the Settlement Order.

Gatekeeping Provisions         The Settlement Order and the Confirmation Order shall, among other
                               provisions, enjoin prosecution of any claims released pursuant to the Estate
                               Claims Settlement and provide that the Bankruptcy Court shall retain
                               jurisdiction to enforce the Settlement Order (as defined in the Settlement
                               Agreement) and Confirmation Order, including to determine, without
                               limitation, whether (a) any claim brought against any NICO Releasees,
                               Brenntag Releasees, or DB US Releasees (each as defined in the Settlement
                               Agreement) constitutes an Estate Cause of Action and is subject to the
                               prohibition against prosecution of such claim and (b) any claims brought
                               against any of the Non-Debtor Released Parties constitutes a Brenntag
                               Released Claim, NICO Released Claim, and/or DB US Released Claim
                               (each as defined in the Settlement Agreement) and are subject to the
                               prohibition against prosecution of such claims.

Releases                       In addition to the releases granted pursuant to the Estate Claims Settlement,
                               which are subject to terms agreeable to the parties, the Plan shall provide
                               for customary releases of Debtor Claims and Causes of Action.


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Bar Date                      A Bar Date for all claims arising before commencement of the Debtors’
                              Chapter 11 Cases shall be established in accordance with the Estate Claims
                              Settlement in advance of or pursuant to the Confirmation Order.
Related Parties               Collectively, with respect to an Entity, (a) such Entity’s current and former
                              Affiliates and (b) such Entity’s and such Entity’s current and former
                              Affiliates’ directors, managers, officers, shareholders, equity Holders
                              (regardless of whether such interests are held directly or indirectly),
                              affiliated investment funds or investment vehicles, predecessors,
                              participants, successors, assigns (whether by operation of Law or
                              otherwise), subsidiaries, current, former, and future associated entities,
                              managed or advised entities, accounts or funds, partners, limited partners,
                              general partners, principals, members, management companies, fund
                              advisors, fiduciaries, trustees, employees, agents (including any Disbursing
                              Agent), advisory board members, financial advisors, attorneys, accountants,
                              investment bankers, consultants, other Representatives, and other
                              Professionals, Representatives, advisors, predecessors, successors, and
                              assigns, each solely in their capacities as such (including any other attorneys
                              or professionals retained by any current or former director or manager in his
                              or her capacity as director or manager of an Entity), and the respective heirs,
                              executors, estates, servants, and nominees of the foregoing.
Non-Debtor Released           The parties benefitting from the releases of Debtor Released Estate Causes
Parties                       of Action granted pursuant to the Estate Claims Settlement.
Exculpation                   The Plan shall provide for customary exculpation.
Procedures for Payment of     The Debtors will be responsible for payment of all allowed administrative
Administrative Claims         claims through the Plan Confirmation Date. The TCC shall be dissolved on
                              the Confirmation Date and the FCR shall be discharged from her duties on
                              the Confirmation Date. There shall be no further obligation of the Debtors
                              to pay any of the FCR’s or TCC’s fees and expenses after the Confirmation
                              Date; provided, however, that notwithstanding the foregoing, the TCC may,
                              at its option and without taking any action or seeking or receiving any
                              approval, continue to serve and function after the Confirmation Date for the
                              purposes of participating in any hearing on a Committee Professional Fee
                              Claim. To the extent that the Committee determines to continue to serve
                              and function after the Confirmation Date pursuant to the preceding
                              sentence, the Committee shall dissolve upon entry of a final order approving
                              such Committee Professional Fee Claim.
Conditions Precedent to the   The Plan shall provide for customary conditions precedent to the Effective
Plan Effective Date           Date, including funding of the remaining contribution of the Estate Claims
                              Settlement, pursuant to terms agreeable to the Parties.
                                           DEFINITIONS
Debtors                       Whittaker, Clark & Daniels, Inc., a New Jersey corporation, Brilliant
                              National Services, Inc., a Delaware corporation; L. A. Terminals, Inc., a
                              California corporation; and Soco West, Inc., a Delaware corporation.
NICO                          Berkshire Hathaway Inc., BH Columbia Inc., Columbia Insurance
                              Company, National Indemnity Company, Resolute Management, Inc.,
                              Ringwalt & Liesche Co., and National Liability & Fire Insurance Company.


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Brenntag                  Brenntag Canada, Inc., Brenntag Great Lakes, LLC, Brenntag Mid-South,
                          Inc., Brenntag North America, Inc., Brenntag Northeast, LLC, Brenntag
                          Pacific, Inc., Brenntag Southwest, Inc., Brenntag Specialties, LLC (f/k/a
                          Brenntag Specialties, Inc., and as Mineral and Pigment Solutions, Inc.), and
                          Coastal Chemical Co., LLC.
DB US                     DB US Holding Corporation (f/k/a Stinnes Corporation).
Bankruptcy Code           Title 11 of the United States Code, 11 U.S.C. §§ 101–1532.
Bankruptcy Court          The United States Bankruptcy Court for the District of New Jersey or such
                          other court having jurisdiction over the Chapter 11 Cases.
Chapter 11 Cases          When used with reference (a) to a particular Debtor, the case pending for
                          that Debtor in the Bankruptcy Court under chapter 11 of the Bankruptcy
                          Code, and (b) to all Debtors, the procedurally consolidated and jointly
                          administered chapter 11 cases pending for the Debtors in the Bankruptcy
                          Court under Case No. 23-13575 (MBK) pursuant to the Order (I) Directing
                          Joint Administration of Chapter 11 Cases and (II) Granting Related Relief
                          [Docket No. 72].
Plan                      A plan under chapter 11 of the Bankruptcy Code in the Debtors’ bankruptcy
                          proceedings, proposed by the Debtors in form and substance consistent with
                          this Term Sheet and in all respects otherwise reasonably acceptable to the
                          Debtors and NICO, confirmed by the Confirmation Order of the Bankruptcy
                          Court and, to the extent required, affirmed by order of the District Court.
Plan Effective Date       The date that is the first business day after all conditions precedent to the
                          effectiveness of the Plan, including that the Plan has become final and
                          non-appealable, have been satisfied or waived by the Parties.
Petition Date             April 26, 2023.
Avoidance Actions         Any and all actual or potential avoidance, recovery, subordination, or other
                          Claims and Causes of Action, actions, or remedies that may be brought by,
                          or on behalf of, the Debtors or their Estates or other authorized parties in
                          interest under the Bankruptcy Code or applicable non-bankruptcy Law,
                          including Claims, Causes of Action, actions, or remedies arising under
                          sections 502, 510, 541, 542, 544, 545, 547 through 553, and 724(a) of the
                          Bankruptcy Code or under similar or related state or federal statutes and
                          common Law, including fraudulent transfer Laws.
Causes of Action          Collectively, any and all claims, interests, controversies, actions,
                          proceedings, reimbursement claims, contribution claims, recoupment
                          rights, debts, obligations, third-party claims, indemnity claims, damages
                          (including claims for or award of costs and/or expenses, court costs and
                          attorneys’ fees), losses, remedies, causes of action, demands, rights,
                          lawsuits, suits, litigation, arbitration, legal proceeding, obligations,
                          liabilities, accounts, judgments, defenses, offsets, powers, privileges,
                          licenses, franchises, guaranties, Avoidance Actions, agreements,
                          counterclaims, and cross-claims, of any kind or character whatsoever,
                          whether known or unknown or hereafter discovered, foreseen or unforeseen,
                          existing or hereinafter arising, contingent or non-contingent, matured or
                          unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
                          or undisputed, asserted or unasserted, direct or indirect, assertable directly


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                             or derivatively, choate or inchoate, reduced to judgment or otherwise,
                             secured or unsecured, whether arising before, on, or after the Petition Date,
                             in tort, Law, equity, or otherwise pursuant to any theory of civil Law
                             (whether local, state, or federal U.S. Law or non-U.S. Law). Causes of
                             Action also include: (a) all rights of setoff, counterclaim, or recoupment
                             and claims under contracts or for breaches of duties imposed by Law or in
                             equity; (b) any Claim (whether under local, state, federal U.S. Law or non-
                             U.S. civil Law) based on or relating to, or in any manner arising from, in
                             whole or in part, tort, breach of contract, breach of fiduciary duty, fraudulent
                             transfer or fraudulent conveyance or voidable transaction Law, violation of
                             local, state, or federal non-U.S. Law or breach of any duty imposed by Law
                             or in equity, including securities Laws, negligence, and gross negligence;
                             (c) the right to object to or otherwise contest Claims or interests; (d) claims
                             pursuant to section 362 or chapter 5 of the Bankruptcy Code; and (e) such
                             claims and defenses as fraud, mistake, duress, and usury, and any other
                             defenses set forth in section 558 of the Bankruptcy Code.
Law                          Any federal, state, local, or foreign law (including common law), statute,
                             code, ordinance, rule, regulation, order, ruling, or judgment, in each case,
                             that is validly adopted, promulgated, issued, or entered by a governmental
                             authority of competent jurisdiction (including the Court).
Claim                        Any claim, as defined in section 101(5) of the Bankruptcy Code, against a
                             Debtor.
Confirmation Order           The order of the Bankruptcy Court approving the Plan under Section 1129
                             of the Bankruptcy Code, which order shall be reasonably acceptable to
                             NICO.
Debt                         Any “debt,” as defined in section 101(12) of the Bankruptcy Code.
Distributable Proceeds       All (a) Cash, (b) Cash proceeds generated from the use, sale, lease,
                             liquidation, or other disposition of Estate property, including, for the
                             avoidance of doubt, proceeds generated from the Insurance Contracts, and
                             (c) Cash proceeds generated by the use, sale, lease, liquidation, or other
                             disposition of any property belonging to the Wind-Down Debtors, less
                             (x) the Professional Fee Amount required to be funded into the Professional
                             Fee Escrow Account on or prior to the Effective Date and (y) the Reserve
                             Funds.
Reserve Funds                On the Effective Date, the Wind-Down Debtors shall (a) with respect to
                             each unpaid Administrative Claim, Priority Tax Claim, and Priority Claim,
                             either pay the Allowed amount of such Claim in full in Cash (collectively,
                             the “Effective Date Payment”) or reserve Cash sufficient for payment of
                             the Allowed amount of such Claim in full and (b) reserve Cash sufficient
                             for payment of all legal fees and expenses reasonably likely to be incurred
                             by the Wind-Down Debtors through the closing of the Chapter 11 Cases,
                             including all legal fees and expenses necessary to defend to final resolution
                             any appeal of the Confirmation Order, the Motion to Dismiss Denial Order,
                             or any other matter arising in or related to these Chapter 11 Cases, hearing
                             on a Professional Fee Claim, and any adversary proceeding pending as of
                             the Effective Date (the aggregate amount of such reserved Cash pursuant to
                             clauses (a) and (b), the “Reserve Funds”). The Wind-Down Debtors will
                             transfer, or cause to be transferred, to the to the Environmental Remediation

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                             Trust, Tort Claims Trust, and GUC Trust, on a pro rata basis, any Reserve
                             Funds remaining following the Wind-Down Debtors’ payment in full of all
                             DIP Claims, Allowed Administrative Claims, Allowed Priority Tax Claims,
                             and Allowed Priority Claims as well as all other post-Effective Date legal
                             fees and expenses.
DIP Order                    The order approving the first priority secured debtor-in-possession delayed
                             draw term loan facility, entry into related documentation, including the
                             debtor-in-possession credit agreement, and related relief.
DIP Claim                    All Claims against any Debtor with respect to any DIP Obligations, as
                             defined in the DIP Order, which shall be superpriority administrative
                             expense claims against each of the Debtors’ estate with priority over all
                             other Administrative Claims, secured by perfected first priority liens on all
                             assets of the Debtors.
Environmental Claim          Any Claim or Cause of Action against a Debtor asserted by any Government
                             Environmental Unit, and other civil responsibilities, obligations or
                             liabilities with respect to sites relating to or arising under the
                             Comprehensive Environmental Response, Compensation, and Liability
                             Act, Resource Conservation and Recovery Act, or any other environmental
                             Laws, including Claims for restoration, corrective action, or remediation of
                             environmental or natural resource conditions.
Indirect Environmental       A Claim held by a private party for breach of contract, indemnification,
Claim                        contribution, reimbursement, or cost recovery related to environmental
                             monitoring or remediation, including Claims for contribution, personal
                             injury, property damage, or direct costs under any environmental Law.
Tort Claims                  Any Claim or Cause of Action against a Debtor whether known or
                             unknown, manifested or unmanifested, for costs or damages, including with
                             respect to any manner of alleged bodily injury, death, sickness, disease,
                             emotional distress, fear of cancer, medical monitoring, or other personal
                             injuries (whether physical, emotional or otherwise), directly or indirectly
                             arising out of or in any way relating to the presence of or exposure to
                             asbestos, talc, asbestiform minerals or any other chemical compound, or
                             asbestos-, talc-, asbestiform- or any other chemical compound containing
                             products caused or allegedly caused by, based on or allegedly based on,
                             arising or allegedly arising from, attributable or allegedly attributable to, or
                             in connection with, directly or indirectly, in whole or in part, the alleged
                             acts, omissions, or conduct of the Debtors or any of the Debtors’
                             predecessors-in-interest, including any such claims directly or indirectly, in
                             whole or in part, arising out of or in any way relating to: (a) any products
                             previously mined, manufactured, engineered, assembled, distributed, sold,
                             used, consumed, installed, maintained, owned, occupied, stored, possessed,
                             processed, designed, marketed, fabricated, constructed, supplied, produced,
                             serviced, specified, selected, repaired, removed, replaced, released, and/or
                             in any other way made available by the Debtors or any of the Debtors’
                             predecessors-in-interest; (b) any materials present at any premises owned,
                             leased, occupied, or operated by the Debtors or the Debtors’ predecessors-
                             in-interest; or (c) any talc in any way connected to the Debtors alleged to
                             contain asbestos, asbestiform minerals, asbestos-containing products, or
                             other constituent.


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Estate Causes of Action         Any and all actions, Claims, rights, remedies, defenses, counterclaims,
                                suits, and Causes of Action (a) owned or held, or assertable by or on behalf
                                of any Debtor or its Estate (including, without limitation, claims assertable
                                by the TCC or FCR, or by any other creditors, on behalf of any Debtor or
                                its Estate), (b) that constitute property of the Estates under section 541 of
                                the Bankruptcy Code, (c) that are or may be commenced or pursued by a
                                representative of the Debtors or the Estates, including pursuant to sections
                                323 or 362 of the Bankruptcy Code or chapter 5 of the Bankruptcy Code,
                                (d) to avoid, invalidate or recover any transfer of any kind made by any
                                Debtor, or any obligation of any Debtor, including under chapter 5 of the
                                Bankruptcy Code or other applicable law, (e) that constitute Successor
                                Liability Claims, or (f) otherwise assertable by any Debtor or its Estate
                                under any federal, state, or other applicable law seeking to establish a
                                non-Debtor’s liability for existing or future Tort Claims, Environmental
                                Claims, Indirect Environmental Claims, or other Claims against the
                                Debtors; in all cases, however denominated and whether or not asserted,
                                whether known or unknown, in law, at equity or otherwise, whenever and
                                wherever arising under the laws of any jurisdiction.
General Unsecured Claims        Any unsecured Claim against any of the Debtors that is not: (a) paid in full
                                prior to the Plan Effective Date pursuant to an order of the Bankruptcy
                                Court; (b) a DIP Claim; (c) an Administrative Claim; (d) a Tort Claim;
                                (e) an Environmental Claim; or (f) an Indirect Environmental Claim.
Non-Debtor Intercompany         Any Claim (including Claims related to setoff rights) held against a Debtor
Claims                          by NICO or NICO’s Related Parties.
TCC                             The Official Committee of Talc Claimants appointed in the Chapter 11
                                Cases [Docket No. 121].
FCR                             Honorable Shelley C. Chapman, retired Bankruptcy Judge for the United
                                States Bankruptcy Court for the Southern District of New York, in the
                                capacity as legal representative for future tort claimants in the Chapter 11
                                Cases [Docket No. 231].
Other Sites                     The sites not owned by any Debtor as of the Petition Date and to be
                                identified in the Other Sites exhibit attached, as applicable, to any settlement
                                agreement entered into with respect to Environmental Claims and Indirect
                                Environmental Claims.
Owned Site                      1353 Taylor Place, Billings, MT 59101.
Governmental Unit               A governmental unit as defined in section 101(27) of the Bankruptcy Code.
Government Environmental        Federal, state, local, or tribal Governmental Units asserting claims or having
Unit                            regulatory authority or responsibilities with respect to environmental Laws.
Settlement Agreement            The Settlement Agreement by and between the Debtors, Brenntag, NICO,
                                and DB US.
Settlement Effective Date       “Settlement Effective Date” shall have the meaning ascribed to “Effective
                                Date” in the Settlement Agreement.




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